                 Case 2:23-cv-01817-RAJ Document 15 Filed 03/07/24 Page 1 of 3




 1                                                                    The Honorable Richard A. Jones
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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
10   ABRAHAM LEAVITT,
11                                                        NO. 2:23-cv-01817-RAJ
                                    Plaintiff,
12          v.                                            STIPULATION AND ORDER TO
                                                          DISMISS DEFENDANT EVERI
13   EVERI HOLDINGS INC. dba CENTRAL                      HOLDINGS, INC.
     CREDIT,
14
                                    Defendant.
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16
                                                 STIPULATION
17
            The parties in the above-captioned case hereby stipulate and request the Court enter the
18
     following order, pursuant to FRCP 41(a)(2), to dismiss Defendant Everi Holdings Inc. The
19
     parties further stipulate that Central Credit LLC be named as a defendant in this action, such that
20
     all references to “Defendant Everi Holdings Inc.,” “Everi,” or “defendant” in the initial
21
     complaint shall be deemed references to Central Credit LLC. Central Credit LLC does not waive
22
     any defenses to this action by entering into this stipulation.
23
            The parties stipulate that Everi Holdings, Inc. should be dismissed without prejudice and
24
     without costs to any party.
25

26
                                                                        GORDON REES SCULLY
     STIPULATION AND ORDER TO DISMISS DEFENDANT                         MANSUKHANI, LLP
     EVERI HOLDINGS, INC. - 1                                           701 Fifth Avenue, Suite 2100
     Case No. 2:23-cv-01817-RAJ                                         Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
                                                                        Facsimile: (206) 689-2822
              Case 2:23-cv-01817-RAJ Document 15 Filed 03/07/24 Page 2 of 3




 1
            STIPULATED TO this 6th day of March, 2024.
 2

 3   GORDON REES SCULLY                            DIGITAL JUSTICE FOUNDATION
     MANSUKHANI, LLP
 4

 5   By: s/Shannon L. Wodnik                       By: s/Andrew Grimm
        Shannon L. Wodnik, WSBA #44998               Andrew Grimm, WSBA #51486
 6   Attorneys for Defendant Central Credit, LLC     Attorneys for Plaintiff Abraham Leavitt
     GORDON REES SCULLY MANSUKHANI, LLP            DIGITAL JUSTICE FOUNDATION
 7   701 Fifth Avenue, Suite 2100                  15287 Pepperwood Drive
     Seattle, WA 98104                             Omaha, NB 68154
 8   Phone: (206) 695-5100                         Phone: (531) 210-2381
     Email: swodnik@grsm.com                       Email: Andrew@DigitalJusticeFoundation.org
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                                                                GORDON REES SCULLY
     STIPULATION AND ORDER TO DISMISS DEFENDANT                 MANSUKHANI, LLP
     EVERI HOLDINGS, INC. - 2                                   701 Fifth Avenue, Suite 2100
     Case No. 2:23-cv-01817-RAJ                                 Seattle, WA 98104
                                                                Telephone: (206) 695-5100
                                                                Facsimile: (206) 689-2822
              Case 2:23-cv-01817-RAJ Document 15 Filed 03/07/24 Page 3 of 3




 1                                      ORDER OF DISMISSAL
 2          THIS MATTER having come before the Court by way of the Parties’ Stipulation and
 3
     Order to Dismiss Defendant Everi Holdings, Inc., and the Court being fully advised,
 4
            NOW THEREFORE, it is ORDERED that, Everi Holdings, LLC is dismissed without
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     prejudice and without costs to any party and Central Credit LLC be added as the named
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 7   Defendant, such that all references to “Defendant Everi Holdings Inc.,” “Everi,” or “defendant”

 8   in the initial complaint shall be deemed references to Central Credit LLC.

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            DATED this 7th day of March, 2024.
10

11                                                       A
12                                                       The Honorable Richard A. Jones
                                                         United States District Judge
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                                                                       GORDON REES SCULLY
     STIPULATION AND ORDER TO DISMISS DEFENDANT                        MANSUKHANI, LLP
     EVERI HOLDINGS, INC. - 3                                          701 Fifth Avenue, Suite 2100
     Case No. 2:23-cv-01817-RAJ                                        Seattle, WA 98104
                                                                       Telephone: (206) 695-5100
                                                                       Facsimile: (206) 689-2822
